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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 ANNETTE M. WEBB                                                      CIVIL ACTION
 VERSUS                                                               NO:   17-05777
 AETNA LIFE INSURANCE COMPANY                                         SECTION: “F” (4)

                             SETTLEMENT CONFERENCE ORDER

        This case has been scheduled for a Settlement Conference. All lead counsel are ORDERED

TO APPEAR before the undersigned Chief Magistrate Judge, United States Courthouse, Hale

Boggs Federal Building, 500 Poydras Street, Room B-437, New Orleans, Louisiana at 10:00 a.m.

on March 8, 2018. Counsel must immediately contact chambers with any conflicts.

        Each party shall email, in confidence, a concise position letter or memorandum outlining the

settlement position of the party, including the case number, case name, and be no longer than

three pages double spaced of the evidence the party expects to produce at trial at least two (2) days

before the conference. Email letter to: efile-roby@laed.uscourts.gov.

The subject line should read: “17-05777F-03/08/18 “(Plaintiff’s or Defendant’s) Paper”.
        It is the duty of the parties to notify the undersigned if this case is continued, settled, or

otherwise disposed of prior to the date of the scheduled settlement conference, so that the matter may

be removed from the Court's docket.

        Settlement Conferences are often unproductive, unless all counsel have authority to settle or

access to someone with authority to settle during the conference. Before arriving at the Settlement

Conference the parties are to negotiate and make a good faith effort to settle the case without the

involvement of the court. Specific proposals and counter proposals shall be made. Although

optional during the initial conference, participation of parties in addition to counsel would likely

increase the efficiency and effectiveness of the Settlement Conference. Therefore, counsel are

encouraged to bring their clients to participate in the conference.

                                        New Orleans, Louisiana, this 22nd day of August 2017

                                            ______________________________________________
                                                       KAREN WELLS ROBY
                                            CHIEF UNITED STATES MAGISTRATE JUDGE
